         Case
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                                                                                                          October 1, 2024


The Honorable Alvin K. Hellerstein                                                      D/ww 1o l'-1()0,,.,d a,~
United States District Judge                                                           ~               r1+e,/.
Southern District of New York                                                           f --•
500 Pearl Street
NewYork,NY 10007-1312                                                                )(~ ' ~
                                                                                                    /2~                          /.- ~~
        Re:            Kristi Jordan v. Crunch, LLC, No. 1:24-cv-7118                                                                ,o}iz.oiJI
                       Unopposed Letter Motion for Extension of Time to Respond to Amended
                       Complaint

Dear Judge Hellerstein,

         We represent Defendant, Crunch, LLC in the above referenced action. Defendant's
response to the Amended Complaint is currently due on October 15, 2024. Pursuant to Rule
7. l(d) of the Local Rules of the United States District Courts for the Southern and Eastern
Districts of New York and Rule 1(D) of this Court's Individual Rules, we write to request an
extension of time, until November 25, 2024, for Defendant to respond to Plaintiffs Amended
Complaint (ECF No. 5), and an extension of time, until December 20, 2024, for Plaintiff to
respond to any dispositive motions filed by Defendant.

        This is Defendant's first request for an extension. There have been no dates scheduled
after the original date, and therefore the extension will not impact any other deadline or order in
this matter. Plaintiff consents to this request.

        Thank you for the Court's attention to this matter.


                                                                                     Respectfully submitted,

                                                                                     Isl Ian M Ross
                                                                                     Ian M. Ross

                                                                                     Counsel for Crunch, LLC

cc:     Counsel ofrecord (via ECF)

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